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                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS


RONALD SATISH EMRIT,             )
          Plaintiff,             )
                                 )      Civ. Action No. 19-12272-PBS
          v.                     )
                                 )
NATIONAL FOOTBALL LEAGUE, et al.,)
          Defendants.            )

                        MEMORANDUM AND ORDER

                          December 6, 2019

SARIS, C.D.J.

     On November 4, 2019, pro se plaintiff Ronald Satish Emrit,

a resident and citizen of Florida, filed a complaint naming as

defendants the National Football League, the Washington Redskins

and Daniel Snyder, majority owner of the Washington Redskins.

See Docket No. 1.   With the complaint, he filed a motion to

proceed in forma pauperis.    See Docket No. 1.

     A search of the federal judiciary's Public Access to Court

Electronic Records (PACER) service reveals that in October 2019

Emrit filed in other federal district courts five nearly

identical actions against the same defendants named here.            See

Emrit v. National Football League, et al., No. 19-3086 (D.D.C.

filed Oct. 10, 2019); Emrit v. National Football League, et al.,

No. 19-2968 (D. Maryland filed Oct. 10, 2019; Emrit v. National

Football League, et al., No. 19-1302 (E.D. Vir. filed Oct. 10,

2019); Emrit v. National Football League, et al., No. 19-
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525(M.D. Fla. filed Oct. 15, 2019); and Emrit v. National

Football League, et al., No. 19-334 (S.D. Iowa Filed Oct. 15,

2019).

     Under the prior-pending-action doctrine, “the pendency of a

prior action, in a court of competent jurisdiction, between the

same parties, predicated upon the same cause of action and

growing out of the same transaction, and in which identical

relief is sought, constitutes good ground for abatement of the

later suit.”     O'Reilly v. Curtis Pub. Co., 31 F. Supp. 364, 364-

65 (D. Mass. 1940).      “To promote judicial economy and protect

parties from vexatious and expensive litigation, a federal court

may dismiss a suit when it is duplicative of a suit already

pending in another federal court.”         Rivadeneira v. Dep’t of

Homeland Sec., No. 15-12317-RGS, 2015 WL 4111452, at *1 (D.

Mass. July 8, 2015).

     Here, the lawsuits are virtually identical, and therefore,

this later filed action is a duplicative proceeding.            Thus, the

Court finds that it would be appropriate to have plaintiff’s

claims resolved in an earlier filed action.          Even if the prior

pending action doctrine did not apply, the court would likely

dismiss the action where it appears improperly venued in the

District of Massachusetts.       See 28 U.S.C. § 1391(b); 28 U.S.C. §

1406(a) (requiring dismissal or, if in the interest of justice,

transfer an action for improper venue).

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        Accordingly, this action is hereby DISMISSED without

prejudice.    The motion to proceed in forma pauperis is DENIED as

moot.


SO ORDERED.
                                   /s/ Patti B. Saris
                                   PATTI B. SARIS
                                   CHIEF UNITED STATES DISTRICT JUDGE




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